Filed 08/28/19                                                      Case 19-23303                                                     Doc 16

     Information to identify the case:
     Debtor 1              Daniel L Henry                                              Social Security number or ITIN   xxx−xx−9328
                           First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
     Debtor 2              Chivon D Henry                                              Social Security number or ITIN   xxx−xx−9060
     (Spouse, if filing)
                           First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
     United States Bankruptcy Court Eastern District of California

     Case number: 19−23303



     Order of Discharge                                                                                                         12/15


     IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

                Daniel L Henry                                                Chivon D Henry
                1410 D St                                                     1410 D St
                Sacramento, CA 95814−0922                                     Sacramento, CA 95814−0922


                Dated:                                                        For the Court,
                8/28/19                                                       Wayne Blackwelder , Clerk


     Explanation of Bankruptcy Discharge in a Chapter 7 Case

     This order does not close or dismiss the case,                           This order does not prevent debtors from paying
     and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
     any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                              11 U.S.C. § 524(c), (f).
     Creditors cannot collect discharged debts
     This order means that no one may make any                                Most debts are discharged
     attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
     debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
     cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
     or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
     personally on discharged debts. Creditors cannot
     contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
     in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
     Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
     to pay debtors damages and attorney's fees.                              are discharged.

     However, a creditor with a lien may enforce a                            In a case involving community property: Special
     claim against the debtors' property subject to that                      rules protect certain community property owned
     lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
     For example, a creditor may have the right to                            not file a bankruptcy case.
     foreclose a home mortgage or repossess an
     automobile.

                                                                                             For more information, see page 2 >




    Official Form 318                                             Order of Discharge                                page 1
Filed 08/28/19                                      Case 19-23303                                             Doc 16




     Some debts are not discharged                             Also, debts covered by a valid reaffirmation
     Examples of debts that are not discharged are:            agreement are not discharged.

          ♦ debts that are domestic support                    In addition, this discharge does not stop
            obligations;                                       creditors from collecting from anyone else who is
                                                               also liable on the debt, such as an insurance
                                                               company or a person who cosigned or
          ♦ debts for most student loans;                      guaranteed a loan.


          ♦ debts for most taxes;
                                                                This information is only a general summary
          ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
            decided or will decide are not discharged           exceptions exist. Because the law is
            in this bankruptcy case;                            complicated, you should consult an
                                                                attorney to determine the exact effect of the
                                                                discharge in this case.
          ♦ debts for most fines, penalties,
            forfeitures, or criminal restitution
            obligations;


          ♦ some debts which the debtors did not
            properly list;


          ♦ debts for certain types of loans owed to
            pension, profit sharing, stock bonus, or
            retirement plans; and


          ♦ debts for death or personal injury caused
            by operating a vehicle while intoxicated.




     Official Form 318                             Order of Discharge                           page 2
